 1
       DEVIN DERHAM-BURK #104353
 2     CHAPTER 13 STANDING TRUSTEE
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 8
                                 UNITED STATES BANKRUPTCY COURT
 9                           NORTHERN DISTRICT OF CALIFORNIA - DIVISION 5
10
       IN RE:                                  CHAPTER 13 CASE NO. 22-50339 SLJ
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12     MICHAEL HAROUTUN                        MOTION TO DISMISS CASE (PRE-
                                               CONFIRMATION) PURSUANT TO 11
       MIROYAN,
13                                             U.S.C. §§1307(c) AND 109(e)
14                                             Hearing Date: September 8, 2022
15
                                               Hearing Time: 10:00 a.m.
                                               Judge: Hon. Stephen L. Johnson
16                                   Debtor(s) Place: Telephonic or Video Only

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              Devin Derham-Burk, Standing Chapter 13 Trustee (“Trustee”), submits the following
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       Motion to Dismiss pursuant to 11 U.S.C. §1307(c) and §109(e) as follows:
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        1. The Debtor, Michael Haroutun Miroyan (“Debtor”) filed his Chapter 13 petition on April 22,
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            2022. Debtor filed his Chapter 13 petition with Michael Jay Berger, Esq. (“Berger”) as his
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23          attorney of record. Berger withdrew as counsel on June 10, 2022, and Debtor is now pro se.

24      2. Devin Derham-Burk is the duly appointed Standing Chapter 13 Trustee in this matter
25          (hereafter “Trustee”).
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        3. The Debtor’s Schedule D filed May 6, 2022 [Docket #11, pp. 10-13], lists secured debts of
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            $958,276.00. The claims of “HSBC,” “Kai Family Trust,” “Ocwen Loan Servicing,” and



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 1         “Real Property Tax Division” are listed as contingent, unliquidated and disputed.

 2         Additionally, the claims of HSBC and Ocwen Loan Servicing are listed with “Unknown”
 3         values and the claim amount for Kai Family Trust is listed at $540,000.00. The remaining
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           claim of Gang Chen is listed as non-contingent, liquidated and not disputed. A true and
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           correct copy of the Debtor’s Schedule D is attached to the Declaration of Devin L. Pace as
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           Exhibit A and is incorporated herein by this reference.
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 8      4. Debtor’s prior Chapter 13 bankruptcy filed November 26, 2018 (18-52601 MEH) was

 9         dismissed on June 24, 2019, for exceeding the secured debt limits under 11 U.S.C. 109(e).

10         In that case, Debtor’s Schedule D listed Ocwen Loan Servicing (“Ocwen”) with a claim in
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           the amount of $400,000.00 and Kai Family Trust with two claims totaling $790,000.00
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           (Docket #13, pages 13-14). However, Ocwen filed a secured proof of claim in the amount
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           of $1,739,712.99 (Claim #6) and Kai Family 1998 Trust (“Kai Family Trust”) filed a secured
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           proof of claim in the amount of $1,439,688 (Claim #10).
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16      5. Although § 109(e) excludes contingent debts from the eligibility calculation, the Debtor

17         appears to have designated these particular debts as contingent in bad faith. In In re Fostvedt,
18         823 F. 2d 305 (9th Cir. 1987), the court defined a contingent claim as “one which the debtor
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           will be called upon to pay only upon the occurrence of happening of an extrinsic event which
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           will trigger the liability of the debtor to the alleged creditor. . . . . [W]here a contract was
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           entered into by parties who did not contemplate that any further act had to be completed in
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           order to trigger contractual liability, then such liability would not be contingent.” Id. at 306-

24         07 (citations omitted, emphasis added). As further explained by the court in In re McGovern,

25         122 B.R. 712 (Bankr. N.D. Indiana 1989):
26             The distinction between contingent and noncontingent debts turns upon whether or not
27             there is a presently existing duty, which should be fulfilled, as opposed to a duty which
               may arise sometime in the future. If the debtor’s obligation to a creditor has already




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 1              come into existence and is capable of being enforced the claim is noncontingent. If,
                however, debtor’s liability has yet to attach the claim is a contingent one.
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       122 B.R. at 716.
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 4      6. In the instant case, creditor HSBC filed a proof of claim in the amount of $1,306,137.17

 5          secured by a “Mortgage/Promissory Note” (Claim #9) and Kai Family 1998 Trust filed a

 6          secured proof of claim in the amount of $1,914,014.62 (Claim #11). In reviewing the
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            claim of HSBC, it appears said creditor is the new lienholder for the same claim filed by
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            Ocwen Loan Servicing in Debtor's 2018 bankruptcy.
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        7. With both the claim of Ocwen Loan Servicing and the claim amount of Kai Family Trust
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            having been known from the Debtor’s prior bankruptcy, the Debtor’s undervaluing of these
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12          creditors’ claims gives rise to Debtor’s lack of good faith in an attempt to avoid a §109(e)

13          dismissal in his current case.   Further, this blatant undervaluing of claims gives rise to

14          questioning the Debtor’s contention that the claims are contingent and unliquidated.
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        8. An executed and filed proof of claim constitutes prima facie evidence of the validity and
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            amount of the claim. See Fed. R. Bankr. P. 3001(f). The claims of both HSBC and Kai
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            Family Trust are silent as to either claim being unliquidated or contingent.
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        9. Based on Claim #9 of HSBC, and Claim #11 of Kai Family Trust, the Debtor’s secured debts
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20          these two claims alone total $3,220,151.79, which substantially exceeds the statutory cap of

21          11 U.S.C. § 109(e) for secured debts.
22      10. Dismissal of a chapter 13 case is appropriate if the debts exceed the limits set forth in §109(e).
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            See In re Glance, 487 F. 3d 317 (6th Cir. 2007) (affirming that the bankruptcy court correctly
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            dismissed a case in which the secured debt exceeded the debt limits of §109(e)); In re Mazzeo,
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            131 F. 3d 295, 300 (2nd Cir. 1997) (affirming that the bankruptcy court correctly dismissed a
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27          case in which the unsecured debt exceeded the debt limits of §109(e)).




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 1      11. Because Debtor’s respective secured debt totals appear to be well above the §109(e) secured

 2          debt limits of $1,395,875.00, the Debtor is not eligible to be a chapter 13 debtor and a motion
 3          to dismiss is appropriate if the debtor is not eligible for relief under Chapter 13. See, Keith
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            M. Lundin, Chapter 13 Bankruptcy, 3d ed. sec. 334.1, p.334-1 (2000 & Supp. 2004 & 2007)
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              WHEREFORE, Devin Derham-Burk, the Standing Chapter 13 Trustee, respectfully
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 8     requests that this Court dismiss this case without prejudice.

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                                                       Respectfully submitted,
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16     July 6, 2022                                    /s/ Devin L. Pace
                                                       Attorney for the Chapter 13 Trustee
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